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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION

  BIANCA JOHNSON, et al.,
                               Plaintiffs,       CASE NO. 3:16-cv-00016
                       v.
                                                 ORDER
  ANDREW HOLMES,
                              Defendant.         JUDGE NORMAN K. MOON

  LEON POLK, et al.,
                               Plaintiffs,       CASE NO. 3:16-cv-00017
                       v.
                                                 ORDER
  ANDREW HOLMES,
                              Defendant.         JUDGE NORMAN K. MOON

  RODNEY HUBBARD, et al.,
                               Plaintiffs,       CASE NO. 3:16-cv-00018

                       v.                        ORDER

  ANDREW HOLMES,                                 JUDGE NORMAN K. MOON
                              Defendant.

  CORY GRADY,
                               Plaintiff,        CASE NO. 3:17-cv-00062

                       v.                        ORDER

  ANDREW HOLMES,                                 JUDGE NORMAN K. MOON
                              Defendant.


  SERGIO HARRIS,
                               Plaintiff,        CASE NO. 3:17-cv-00079

                       v.                        ORDER

  ANDREW HOLMES, et al.,                         JUDGE NORMAN K. MOON
                             Defendants.




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        Upon consideration of the parties’ arguments at the status conference held this date

concerning issues related to consolidation of the above-captioned cases for trial and scheduling

thereof; and finding the following orders will promote the just and efficient resolution of such

actions, the Court hereby finds it appropriate to issue the following rulings.

    1. Consolidation. The Court finds that the above-captioned cases involve common questions

of law or fact such that consolidation for trial and any outstanding discovery would promote their

just and efficient resolution. See Fed. R. Civ. P. 42(a); Arnold v. E. Air Lines, Inc., 681 F.2d 186,

193 (4th Cir. 1982) (“The critical question for the district court in the final analysis was whether

the specific risks of prejudice and possible confusion were overborne by the risk of inconsistent

adjudications of common factual and legal issues, the burden on parties, witnesses and available

judicial resources posed by multiple lawsuits, the length of time required to conclude multiple

suits as against a single one, and the relative expense to all concerned of the single-trial,

multiple-trial alternatives.”), on reh’g, 712 F.2d 899 (4th Cir. 1983). The Court further notes the

parties’ agreement at the status conference that such cases be consolidated provided that trial be

continued beyond that presently set for March 2022 to afford the parties sufficient time for trial

preparation. Finding the governing standard satisfied, the Court hereby ORDERS that the

actions be consolidated for trial on or about June to August 2022, as well as any outstanding

discovery and other necessary pretrial proceedings.

     2. Scheduling. The parties are DIRECTED forthwith to contact Heidi Wheeler, Scheduling

Clerk, to set these consolidated actions for trial.

     3. Caption. Upon agreement by the parties that the County of Albemarle no longer is an

active defendant in these actions, the Court hereby DIRECTS the Clerk of Court to remove the




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County of Albemarle from the case captions in Polk v. Holmes, No. 3:16-cv-17; Hubbard v.

Holmes, No. 3:16-cv-18; and Grady v. Holmes, No. 3:17-cv-62.

    4. Referral to U.S. Magistrate Judge. All non-dispositive pretrial motions and issues,

including Defendant’s pending discovery motion, are hereby REFERRED to United States

Magistrate Judge Joel C. Hoppe pursuant to 28 U.S.C. § 636(b)(1)(A) in Hubbard v. Holmes,

No. 3:16-cv-18.

   5. Mediation. Upon notice that the parties are amenable to mediation, pursuant to 28 U.S.C.

§ 636(b)(3) and Fed. R. Civ. P. 16(a)(5), this matter is hereby REFERRED for mediation before

Judge Hoppe, and for any proceedings related thereto that Judge Hoppe deems appropriate. The

parties are directed to contact Judge Hoppe’s Courtroom Deputy, Karen Dotson, at 540-434-

3181 ext. 2, forthwith to schedule any mediation or proceedings Judge Hoppe deems appropriate,

if the parties have not already done so.

       It is so ORDERED.

       The Clerk of Court is directed to send a certified copy of this Order to all counsel of record.

                    7th day of January, 2022.
       Entered this _____




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